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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

  __________________________________________
  IN RE JOHNSON & JOHNSON                    MDL NO. 16-md-02738-FLW-LHG
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION

  This Document Relates to:

    Smith v. Johnson & Johnson Company, et al.

  Civil Case No. 3:19-cv-12182
  ______________________________________________


                    NOTICE OF FILING AMENDED SHORT FORM COMPLAINT

               Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Amended Short Form Complaint and Jury Demand was filed on October 16,

  2024 on behalf of Plaintiff Alan Smith.



               Dated: October 16, 2024                         Respectfully Submitted,

                                                               /s/ Bradley D. Honnold
                                                               Bradley D. Honnold, KS #22972
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                                                               Counsel for Plaintiff




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                                     CERTIFICATE OF SERVICE

               I hereby certify that on October 16, 2024, a copy of the foregoing Notice of Filing

  Short Form Complaint was filed via the Court’s CM/ECF electronic filing system. Notice of this

  filing will be sent by operative of the Court’s electronic filing system to all parties indicated on

  the electronic receipt. Parties may access this filing through the Court’s system.



                                                        /s/ Bradley D. Honnold
                                                        Bradley D. Honnold




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